            Case: 4:11-cv-01279-HEA Doc. #: 1-3 Filed: 07/22/11 Page: 1 of 1 PageID #: 9

AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                   for the
                                                    Eastern District
                                                 __________ Districtof
                                                                     ofMissouri
                                                                       __________


                        SCOTT AVERY
                                                                     )
                                                                     )
                             Plaintiff
                                                                     )
                                v.                                   )       Civil Action No.
                                                                     )
  CONSUMER COLLECTION MANAGEMENT,INC.                                )
                            Defendant
                                                                     )


                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) CONSUMER COLLECTION MANAGEMENT,INC.
                                         c/o Anthony J. Soukenik
                                         2128 Lehne Court
                                         Florissant, MO 63031




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: LARRY P. SMITH & ASSOCIATES, LTD.
                                         205 NORTH MICHIGAN AVENUE
                                         SUITE 4000
                                         CHICAGO, IL 60601



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
